            Case 1:21-cr-00085-CRC Document 58 Filed 03/03/22 Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                            :
 UNITED STATES OF AMERICA                   :      Case No: 21-cr-85-CRC-2
                                            :
                                            :
                                            :      18 U.S.C. §§ 1752(a)(1)
                                            :
         v.                                 :
                                            :
 SIMONE GOLD,                               :
                                            :
         Defendant.                         :
                                            :

                                 STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Simone GOLD, with the concurrence of his attorney, agree and stipulate to the below factual

basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties

stipulate that the United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

       1.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.




                                                   1
             Case 1:21-cr-00085-CRC Document 58 Filed 03/03/22 Page 2 of 5




        3.       On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.       As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.       At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.       At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;



                                             Page 2 of 5
            Case 1:21-cr-00085-CRC Document 58 Filed 03/03/22 Page 3 of 5




however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

       7.       Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


                   GOLD’s Participation in the January 6, 2021, Capitol Riot

       8.       On January 5, Simone GOLD and co-defendant John Strand traveled to

Washington, D.C. from Tampa, Florida. On January 5, GOLD gave a speech in support of the

use of hydroxychloroquine and against COVID-19 lockdowns.

       9.       On January 6, GOLD and Strand entered the restricted area around the U.S.

Capitol and stood with a crowd outside of the East Rotunda door. Directly in front of GOLD and

Strand a law enforcement officer was assaulted and dragged to the ground. Shortly after, at

approximately 2:27 p.m., GOLD and Strand breached the East Rotunda doors as part of a crowd


                                            Page 3 of 5
          Case 1:21-cr-00085-CRC Document 58 Filed 03/03/22 Page 4 of 5




and entered the U.S. Capitol. At approximately 2:55 p.m. GOLD began to give a speech in

Statuary Hall where she stated her opposition to the COVID-19 vaccine mandates and

government-imposed lockdowns. Strand recorded GOLD on her phone while she gave her

speech. Multiple law enforcement officers had to intervene before GOLD stopped giving her

speech, and GOLD and Strand left Statuary Hall.

       10.     In a story run on January 12, GOLD gave an interview to The Washington Post

where she confessed to being inside the U.S. Capitol on January 6, and stated that she regretted

going inside. During the same interview Strand stated that he was also inside the U.S. Capitol

with GOLD and was there to protect GOLD.

       11.     On January 18, Strand and GOLD were arrested by Federal Bureau of

Investigation (FBI) Agents, and the agents executed a lawful search warrant.

       12.     When defendant entered the U.S. Capitol Building on January 6, it was a

restricted building. The defendant knew at the time she entered the U.S. Capitol Building that

she did not have lawful authority to enter the building.



                                                     Respectfully submitted,


                                                     MATTHEW GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052


                                              By:    /s/ April H. Ayers-Perez
                                                     APRIL H. AYERS-PEREZ
                                                     Assistant United States Attorney




                                            Page 4 of 5
Case 1:21-cr-00085-CRC Document 58 Filed 03/03/22 Page 5 of 5




  02/09/2022
